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                          IN THE UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION

UNITED STATES OF AMERICA,                          :       Case No. 3:21-cr-061

                 Plaintiff,                        :       Judge Thomas M. Rose

       v.                                          :

WILLIAM SIDNEY HITCHINGS V,                        :

                 Defendant.                        :


                               FINAL ORDER OF FORFEITURE

       Upon the United States’ Motion for Final Order of Forfeiture and the Court’s review of the

record, the Court HEREBY FINDS THAT:

       On August 10, 2022, the Court entered a Preliminary Order of Forfeiture, finding that all

right, title, and interest in the following property (the “subject property”) had been forfeited to the

United States pursuant to 18 U.S.C. § 2253(a)(1) and (3):

            1)     Thinkpad Laptop Base S/N: PC-08FCJQ with Micro SD San Disk Ultra 64GB
                   S/N: 2414DGZ470MS;

            2)     Motorola motoZ3, IMEI: 3555 5009 5208 307 64 GB Internal, 197 GB
                   Portable;

            3)     ONN thumb drive ONA19DS004;

            4)     One Toshiba Disk Drive SN: Y4FMT8HLT OOA HDKGB13TSA01T with
                   metal hardware;

            5)     iOmega Network Storage Device S/N: CED2490791;

            6)     Google Home Device Model H1A with Power Cord;

            7)     WD SATA Drive, Model: WD5000AAKX-60U6AA0, S/N: WCC2EAHA3386,
                   Capacity: 500GB;
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      8)   WD SATA Drive, Model: WD10EURX-73FH1Y0 S/N: WCC1U0988844
           Capacity: 1.0 TB;

      9)   WD SATA Drive, Model: WD10EURS-630AB1 S/N: WCAV5V692091;

      10) WD SATA Drive, WD10EFRX-68PJCN0 S/N: WCC4J1133404 Capacity: 1
          TB;

      11) Four (4) Thumb drives: one Lexar 32GB thumb drive; one Lexar 32 GB thumb
          drive; one red in color thumb drive; one SanDisk Ultra 32 GB thumb drive;

      12) Seagate Backup Plus 1TB hard drive S/N: NA9M29DL with blue cord;

      13) LG-V521 Gold in color with nano SIM and micro SD card inside;

      14) WD Purple WD40PURX hard drive 4 TB S/N: WCC4E1LH1KSC;

      15) 32 GB micro SD card Gigastone;

      16) Thirteen (13) SD cards and three (3) San Disc Adapters;

      17) Fourteen (14) USB drives;

      18) Black and Blue Datto Atto 3 S/N: G181000005131;

      19) Black Lenovo laptop IMEI: 351826060094854 Serial PF-02XP8C14-07 with
          cord;

      20) HP Pavilion 21 Touchsmart All-in-One PC, Model 21- h116 S/N:
          5CM42201RG and power cord;

      21) 500 GB Western Digital HOD Encryped Model: WD5000AAKX S/N:
          WCC2EPF07816;

      22) Lenovo Think Pad, Model T480 S/N: PF-1KAAGT, containing a Micro
          SanDisk SD card, S/N: 6041DLETV14A;

      23) Orico External Hard Drive Enclosure Model: NS800C3; containing seven HDD;
          connected to Lenovo Laptop;

      24) Zotac Mini PC Model ZBOX-CA320NANO-P S/N: G143300002045;

      25) Synology Disk Station Model D5111 S/N: B7H3N01107;

      26) Synology Disk Station Model D5111 S/N: B1H3N00531;

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             27) HP Computer S/N: 2UA5350BD6;

             28) Buffalo Terastation PN Model TS-R12.0TGL/R5 S/N: 95823691100022;

             29) Hikvision DS-7608NI-E2/8P S/N: 560193751;

             30) IBM System Storage (Model: XSC20083D) SN/1D: A1077RO;

             31) HP PROLIANT DL360 G7, S/N: MXQ03201YT;

             32) HPAJ941A server S/N: CN8037P044;

             33) HPAJ941A server S/N: 7CE345P00T;

             34) HPAJ941A server S/N: 7CE538P1XL;

             35) HPAJ941A server S/N: CN8120P11S; and

             36) HP Blue Iris server S/N: USE211Y62A.

(Doc. 47.)

        The Court also found that the defendant had an interest in the subject property and directed

the United States to seize the subject property and to give notice of its intent to forfeit the property.

(Id.)

        The United States gave electronic notice through the CM/ECF notification system of the

Motion for Preliminary Order of Forfeiture to counsel for the defendant, and the defendant did not

object thereafter to the forfeiture of the subject property.

        On March 8, 2023, the Court held the defendant’s sentencing hearing and announced the

forfeiture of the subject property. (Doc. 61.) The Judgment establishes that the defendant shall

forfeit the subject property to the United States. (Doc. 62.)

        The United States published notice of this forfeiture action and of its intent to dispose of

the subject property in accordance with the law on an official government internet site

(www.forfeiture.gov) for at least 30 consecutive days, beginning on August 12, 2022. (Doc. 55.)

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       The United States sent direct written notice of the Preliminary Order of Forfeiture to all

persons who reasonably appeared to be a potential claimant with standing to contest the forfeiture

of the subject property in the ancillary proceeding, including Ryan Westendorf. (Doc. 71.)

       No person or entity has filed a timely petition with the Court asserting any interest in the

subject property or objecting to its proposed forfeiture.

       THEREFORE, IT IS HEREBY ORDERED THAT:

       1.      All right, title, and interest in the subject property is condemned and forfeited to the

United States under 18 U.S.C. § 2253(a)(1) and (3), and no right, title, or interest shall remain in

any other person or entity.

       2.      The United States shall dispose of the subject property in accordance with the law.

       3.      The United States District Court shall retain jurisdiction in the case for the purpose

of enforcing this Final Order of Forfeiture.

       IT IS SO ORDERED.

Dated: June 17, 2024                           s/Thomas M. Rose
                                               __________________________________________
                                               THOMAS M. ROSE
                                               UNITED STATES DISTRICT JUDGE




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